
PER CURIAM.
This court previously dismissed a portion of this appeal, citing City of Haines City v. Allen, 509 So.2d 982 (Fla. 2d DCA 1987), in effect ruling that appellants’ counterclaim was compulsory. For that reason, the award of attorneys’ fees, which is the subject of the remaining orders on appeal in these consolidated cases, was premature. Therefore, we VACATE those two orders, and REMAND with instructions to withhold entry of the orders until the litigation has been fully resolved. See Martinez v. Marin, 700 So.2d 439 (Fla. 3d DCA 1997).
BOOTH, JOANOS and VAN NORTWICK, JJ., concur.
